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                             UNITED STATES DISTRJCT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                       )
in Re Application of                                   )
                                                       )
T HE ATTORNEY GENERA L OF                              )
T HE BRITISH VIRGIN ISLANDS                            )       Misc. Case No.
                                                                                -------
P.O. Box 242                                           )
Road Town                                              )
Tortola VG I 110                                       )
British Vi rgin Is lands                               )
                                                       )
                Applicant                              )
                                                       )
for Judicial Assistance to Obtain Evide nce            )
for Use in a Foreign Proceeding Pursuant               )
to 28 U.S.C. § 1782                                    )



 APPLICATION FOR JUDICIAL ASSISTANCE TO OBTAIN EV IDENCE FOR USE IN
          A FOREIGN PROCEEDING PURSUANT TO 28 U.S.C. § 1782

        The Attorney General of the British Virgin Islands (the "Applicant") respectfully submits

this Application for Judicial Assistance to Obtain Evidence for Use in a Foreign Proceeding

Purs uant to 28 U.S.C. § 1782 to seek leave to take discovery from parties residing or found in the

Di strict of Co lumbia to obtain doc umentary and testimony evidence for use in a contemplated

proceeding in the British Virgin Is lands ("BVI"). In support, the Applicant states as fo llows:

                                         INTRODUCTION

        I.      The relevant facts to this Application are summarized below and set forth more

fully in the Declaration of Martin Kenney (" Declaration") attached as "Exhibit MS K"; the

s upporting exhibit thereto is "Exhibit MSK-1 ." The facts stated in the Declaratio n a re incorporated

herein by reference.
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        2.     The Applicant seeks the judicial assistance of the United States District Court for

the District of Columbia (the "Court") to obtain certain documentary and testimonial evidence in

contemplation of civil proceedings to be brought before the courts of the British Virgin Islands

("BY!") against Lester S. Hyman, Esq., a member of the District of Columbia Bar, who

represented the BVJ Government ("BVIG") in an attorney-client capacity from 1987 to

July 30, 2017, as of which date the BVIG terminated Mr. Hyman due to it becoming aware of

facts, upon which the BVIG is now contemplating civil proceedings. For the reasons set forth in

the Declaration, the Applicant is contemplating bringing a civil action in the BVJ against

Mr. Hyman for fraud at equity, breach of fiduciary care and loyalty, and negligence. Ex. MSK



       3.      Legal professional ethics rules and case law in the BVl require heightened pleading

standards when alleging fraud or dishonesty that must be not only particularized but also supported

by cogent evidence. Pleadings failing to comply are liable to be struck as an abuse of process.   hl:.
,i 12. Furthermore, due to gravity of the allegations, the Applicant is seeking that investigations

and discovery be done diligently to ensure the accuracy of its founding pleading for use before the

Eastern Caribbean Supreme Court at the BVJ ("BVJ High Court").

       4.      Within the scope of his legal representation to the BVIG, Mr. Hyman, in late 2013

or early 2014, introduced certain business promoters from the United States to the BVIG. These

promoters proposed to start an airline that would operate, for the first time, nonstop commercial

flights between Miami and the BVJ. Id. 1 14. In conjunction with the proposed investment by the

promoters, the BV1G was to invest $7,000,000 in the airline. Id. ,i 34.




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        5.       Although the BVIG provided the agreed to investment (and an additional

$200,000), the airline never went into operation, and the investors apparently never invested an y

money in the venture before burning up the investment provided by the BVIG.              ht ~1 22 and 46.
        6.       Investigations by the BYIG have revealed indicia that, in dereliction of his

professional obligations as its attorney to act in the best interest of his client and be free from even

the appearance of (let alone actual) conflict of interest, Mr. Hyman personally profited from this

failed airline venture by, inter a lia, being a paid Director of the failed a irline ( i.e., a party that was

adverse to his client, the BVIG, in the transaction) to the tune of an undisclosed$ I 0,000 director' s

fee, $2500 for each in-person meeting, and stock options. See il 11 , infra. Mr. Hyman was also

likely being a paid Director of at least one of the companies that were shareholders of the airline.

lt a lso appears that Mr. Hyman secretly received a $200,000 "finder' s fee" from the airline and/or

its promoters for putting the deal together with the BVJG. Ex. MSK ~ 10. A ll this undisclosed

improper activity incentivized Mr. Hyman to influence the BVJG to invest what ultimately totaled

$7,200,000 into the fa iled airline venture. As he was being terminated by the BYIG, in an emai l

to the then-Premier of the BVI, Mr. Hyman attempted to recharacterize his role from that of

attorney to one as " honest mediator," Id.~ 50, a role, to which he acknowledged, in hindsight, the

then-Premier of the B VI never agreed. Id. However, in an email two years later to the BYIG ' s

current attorneys who requested the BYIG 's client file, see ~ I 0, infra, Mr. Hyman contrad icted

himself by saying, " [a]t Premier Smith's request, l worked with both the BVI Government and

BVJ Air." Ex. MSK-1 at 153. While he admitted to working w ith both sides on the transaction,

he falsely claimed that it was at the then-Premier's request, which is easily refuted by simply

reading Mr. Hyman's own contemporaneous emai l to the then-Premier. Ex. MSK 1 49.




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        7.      Mr. Hyman' s emails from 2014 to 2017 to the then-Premier concerning the failed

airline venture reveal an attorney who lost sight of his role as an advocate for his client's interest.

Instead, they contain statements of rancor and upset directed to his client in a tone and content

calculated to shame, browbeat, and push his client into investing ultimately $7,200,000 of public

money in a venture fraught with risk and with parties that the most cursory of due diligence would

have revealed red flags that, at a minimum, should have been disclosed to his client s ince they

indicated that the parties were unsuitable for the proposed venture. Id.~ 58. In June 2019, when

asked by the BVIG' s current counsel about the due diligence undertaken and the red flags that

current counsel had uncovered, see     ii   I0, infra, without addressing the red flags, Mr. Hyman

responded that his due diligence on one of the primary promoters, Bruce Bradley, consisted of

asking around (without identifying whom he asked) and that " [a]s a long time official in

Massachusetts government (see my bio), l pride myself on my ability in j udging people ... thus it

was with Bruce Bradley," Ex. MSK ~ 58, (without providing any explanation as to why working

as a Massachusetts government official provided a heightened ability to judge persons or why

relying on this ability that failed to detect the easy-to-discover red flags was an adequate or

reasonable method of conducting due diligence). What was not included in Mr. Hyman ' s response

is how, in an email two years earlier to the then-Premier, Mr. Hyman referred to Mr. Bradley as a

"close friend of many years." Id. ii 49.

        8.     Rather than advising his client or advocating his client' s position, Mr. Hyman sent

emails to the then-Premier that included, " Frankly, it is very embarrassing to me that, having

brought Bruce Bradley to the table, he now receives no reply to his numerous e-mail messages,"

.!fl ii 25, or that the BVIG's draft agreement "is unacceptable," .!fl ~ 35, after the BVlG removed

the promoters' proposed language that included a sovereign immunity waiver and an



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anticompetitive restriction on the provision of subsidies to the proposed airline' s competitors,

legitimate issues of importance for any sovereign that should have been vigorously advocated by

its counsel in negotiations with the other side.

        9.       In a stunning reflection of this situation, the then-Premier wrote to Mr. Hyman and

one of the failed airline' s promoters after a conference call with them where they tried to persuade

the then-Premier to agree to sign a side letter containing clauses adverse to the BVIG' s interests.

In that email, he expressed, "J felt all alone in that conference call with you all," Id. 1 36, despite

having his own attorney on the call. The record shows that Mr. Hyman pushed his own client hard

to enter into the then-proposed airline venture. In doing so, he put his client into harm's way. The

available evidence suggests that Mr. Hyman did so because he was secretly being paid by the other

side.

        10.      In June 2019, the BVJG's current attorneys requested the BVIG's client file from

Mr. Hyman. Despite having had the BVIG as a client for thirty years, Mr. Hyman responded that

the re was no client file nor was any form of written communications ever created because all his

meetings were in person or by telephone. Ex. MSK- 1 at 153. As laid out in the Declaration, the

veracity of yet another of Mr. Hyman's assertions is again easily refuted, for the BVIG is in

possession of many emails and documents between BVIG officials and Mr. Hyman regarding,

inter alia, the failed airline venture.

        1 I.     Additionally, when asked by the BVJG' s current attorneys about the remuneration

that Mr. Hyman received as director of the failed airline venture, he responded to the query by

saying that he believed that he was paid about $500. Ex. MSK 1 58. However, the director that

the B VIG was entitled to place on the failed airline venture' s Board of Directors has provided the

email from the failed airline venture that sets out the director' s compensation, which included,



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inter a lia, a payment of $ 10,000, $2500 per in-person meeting, and stock options. Ex . MSK-1 at

160.

        12.     S ince Mr. Hyman appears to be prone to making material misstatements, without

passing judgment as to w hether they are intentional o r the product of a faulty me mory, it is

unfortunate ly c lear that his testimony, even under oath, cannot be sole ly relied upon as should

o rdinarily be expected of a member of the District of Columbia Bar. Because he had a duty to

disclose his relationships ofconflict in this transaction (and failed to do so) and continues to exhibit

a lack of candor (or accuracy) when asked straightforward questions in re latio n to these

relationships, the scope of the discovery sought by this A pplication needs to inc lude direct

s ubpoena access to objective banking, tax, and other similar records in order to reveal the fu ll

scope of facts regarding undisclosed payments received from parties adverse to the BVlG and in

breach of his fiduc ia ry duties. T herefore, the Applicant respectfully requests the authority to serve

subpoenas for the production of documents that not only include what should form part of the

client file (to w hich the BVlG is absolute ly entitled) but also Mr. Hyman' s bank statements, tax

returns, and associated records and communications to test independently any statement by

Mr. Hyman regarding any payments received from any party in connectio n with the failed a irline

transaction that he proposed to the BVIG.

        13.     As stated more fully in ,i,i 45-46, infra, in light of the foregoing, the a utho rity

granted to this Court by § 1782, and the required pleading standards so that it may pursue c ivi l

proceedings in the BY!, the Applicant respectfully requests that the Court exercise its discretion

to g rant the Applicant's request to conduct discovery on Mr. Hyman, compelling him to appear

for a deposition in Wash ington, D .C., to provide testimony with regards to his representation of

the Applicant, his dealings w ith and the payments he received from the fai led airline, its



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shareholders and related companies, and the "promoters" and/or "investors" that he introduced to

the BVIG. The Applicant further asks that Mr. Hyman be ordered to produce copies of all

documentation (whether paper or electronic) in his possession, custody, or control as it relates to

his representation of the BYIG, any aspect of his role in the failed airline (including w ith its

investors and related legal entities), financial institution records from 2014 to the present of all

accounts in his name or in any legal entity where he has or had a fifty percent or greater legal or

beneficial interest, and U.S. federal tax returns from 2014 to 2018.

        14.         The Appl icant additionally requests discovery for documents from third parties

including     (I)     any   information   technology   professional   residing   or   found   m    the

District of Columbia to include broadly anyone or any entity that has provided information

technology services, to include also any such professional that has maintained and/or provided

backup services for any computer, server, and/or information technology device, and/or email

correspondence, to Mr. Hyman and/or any legal entity, in which he holds or has held a fifty percent

or greater legal or beneficial interest at any time since January 1, 2014 (collectively,

" IT Professionals"); (2) any financial institution residing in or fo und in the District of Columbia

where Mr. Hyman and/or any legal entity, in which he has held a fifty percent or more legal or

beneficial interest at any time s ince January I, 2014, has or had an account w ith respect to account

records (collectively, "Banks"); and (3) any income tax advisor or preparer or accountant retained

by Mr. Hyman at any time since January I, 2014, with respect to all communications and other

records regarding Mr. Hyman (collectively, "Income Tax Preparers/Advisors/Accountants").

                               MEMORANDUM OF AUTHORITIES

   I.       OVERVIEW OF § 1782 AND THE STATUTORY THRESHOLD FOR
            GRANTING RELIEF




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        15.     "Section 1782 is the product of congressional efforts, over the span of nearly 150

years, to provide federal-court assistance in gathering evidence for use in foreign tribunals." Intel

Corp. v. Advanced Micro Devices, Inc .• 542 U.S. 241, 247 (2004). Section 1782 "provide[s] for

assistance in obtaining documentary and other tangible evidence as well as testimony." Jd. at 248.

The statute reads, in pertinent part:

        The district court of the district in which a person resides or is found may order him
        to give his testimony or statement or to produce a document or other thing for use
        in a proceeding in a foreign or international tribunal, including criminal
        investigations conducted before formal accusation. The order may be made
        pursuant to a letter rogatory issued, or request made, by a foreign or international
        tribunal or upon the application of any interested person and may direct that the
        testimony or statement be given, or the document or other thing be produced, before
        a person appointed by the court. By virtue of his appointment, the person appointed
        has power to administer any necessary oath and take the testimony or statement.
        The order may prescribe the practice and procedure, which may be in whole or part
        the practice and procedure of the foreign country or the international tribunal, for
        taking the testimony or statement or producing the document or other thing. To the
        extent that the order does not prescribe otherwise, the testimony or statement shall
        be taken, and the document or other thing produced, in accordance with the Federal
        Rules of Civil Procedure. A person may not be compelled to give his testimony or
        statement or to produce a document or other thing in violation of any legally
        applicable privilege.

28 U.S.C.A. § l 782(a)

        16.     Put succinctly, in order for the Court to be authorized to grant judicial assistance in

the form of an order for discovery pursuant to § 1782, the statute sets a mandatory threshold that

(]) a person, from whom evidence is sought, reside or be found in the District of this Court; (2)

the evidence be for use in a foreign proceeding; and (3) the request be pursuant to a foreign tribunal

request or upon application of an interested party. 1



1
 District courts may, and typically do, grant § 1782 relief on an ex parte basis. See In re Masters,
315 F. Supp. 3d 269, 272 (D.D.C.2018) ("[t]he Court agrees with the applicant that district courts
are generally authorized to review a§ 1782 application on an ex parte basis"), citing Gushlak v.
Gushlak, 486 F. App' x 215,217 (2d Cir.2012) ("it is neither uncommon nor improper for district
courts to grant applications made pursuant to § 1782 ex parte"). " [A]s a general matter, ex parte

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     II.          DISCRETIONARY FACTORS

           l 7.     Once the statutory requirements set forth in § 1782 are met, the Court is free to

exercise its broad discretion to grant relief. The Court's discretion is guided by the discretionary

factors recited by the U.S. Supreme Court in Intel:

           (I) whether "the person from whom discovery is sought is a participant in the
           foreign proceeding," Intel, 542 U.S. at 264, because "nonparticipants in the foreign
           proceeding may be outside the foreign tribunal' s jurisdictional reach," ~, and
           therefore their evidence may be " unobtainable absent§ l 782(a) aid," Id.;

           (2) "the nature of the foreign tribunal, the character of the proceedings underway
           abroad, and the receptivity of the foreign government, the court, or agency abroad
           to federal-court judicial assistance," ~;

           (3) "whether the§ I 782(a) request conceals an attempt to circumvent foreign proof-
           gathering limits or other policies of a foreign country or the United States," Id., at
           264-65; and

           (4) whether the§ 1782(a) request is " unduly intrusive or burdensome," ~      at 265.

This discretion is further informed by the twin Congressional aims of § 1782 of '" providing

efficient means of assistance to participants in international litigation in our federal courts and to

encourage foreign countries by example to provide similar means of assistance to our courts."'

Islamic Republic of Pakistan v. Arnold & Porter Kaye Scholer LLP, No. 18-103 (RMC), 2019 WL

1559433 at *6 (D.D.C. Apr. 10, 2019) (citing Intel, 542 U.S. at 252).

                                              ARGUMENT

I.     THIS APPLICATION MEETS THE STATUTORY THRESHOLD AUTHORIZING
       THIS COURT TO GRANT RELIEF




review is 'justified by the fact that the parties [from whom discovery is sought] w ill be given
adequate notice of any discovery taken pursuant to the request and will then have the opportunity
to move to quash the discovery or to participate in it,"' In re Masters, at 272, citing AG of
Hong Kong v. Osman, 138 F.R.D. 27, 32 n.6 (S.D.N.Y. 1991).


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          18.      As set forth below, this Application meets the statutory requirements authorizing

this Court to grant relief pursuant to§ l 782.

         A.        Each of the Parties from whom Discovery is Sought Resides or Is Found In
                   This District

          19.      Each of the parties from whom discovery is sought reside or are found in the

District of Columbia.

                   1. Lester Hyman

         20.       Lester Hyman is an active member of the District of Columbia Bar in good

standing, and his address as listed with the District of Columbia Bar is: 3826 Van Ness St., N . W.,

Washington, DC 20016, where public records show him the owner of record of the house at t hat

address s ince January 14, 1976.

                   2. IT Professionals

         21.       T he request for discovery from any IT Professional is explicitly limited to the

IT Professional residing or being found in the District of Columbia.

                  3. Banks

         22.      The request for discovery from any Bank is explicitly limited to it residing or being

found in the District of Columbia with respect to any Bank Account of Mr. Hyman, as defined in

,i 45, infra.

                  4. Income Tax Preparers/Advisors/Accountants

         23.      The request for discovery from any Income Tax Preparer/Advisor/Accountant that

prepared, advised, or assisted in any way with Mr. Hyman's U.S. federal income tax returns fo r

2014, 201 5, 2016, 20 17, and/or 20 18 is explicitly limited to it residing or being found in the

District of Columbia.

        B. The Evidence Sought is for Use in a Foreign Proceeding


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        24.      The Applicant seeks discovery for use in a contemplated proceeding to be brought

before the BVI High Court, the BVI's first instance trial court of unlimited jurisdiction and a

foreign tribunal within the meaning of§ I 782. See in re Ming Yang, No. I 9-mc-80207-LB, 2019

WL 4054027, at* I (N.D . Cal. Aug. 28, 2019) (granting application to serve request for discovery

pursuant to § 1782 for a proceeding before the BVI High Court.)

        25.      Additionally, it is well settled that a § 1782 application may seek evidence for use

in a proceeding that has not yet begun but is within reasonable contemplation .              ("[T]he

' proceeding' for which discovery is sought under§ 1782(a) must be in reasonable contemplation,

but need not be ' pending' or ' imminent."' Intel, 542 U.S. at 247). In the instant case, however,

not only is the proceeding within reasonable contemplation, it is also likely to be imminent. As

stated in the Declaration, Martin Kenney is "confident that MKS will be instructed to fi le

proceedings in the BVI against Mr. Hyman as may be reasonably practicable. 1 estimate that a

claim wi ll be launched within sixty days following the concl usion of discovery hereunder." Ex.

MSK 178.

        C.       The Applicant Is an Interested Party

        26.     The third statutory requirement for§ 1782 assistance is that either the request come

from a foreign tribunal request or is made by an interested party. ln the instant case, the Applicant

intends to initiate proceedings in the BVI as a claimant and seeks to benefit by obtaining monetary

damages should it prevail in the contemplated proceeding.

II.     THE COURT SHOULD EXERCISE ITS DISCRETION IN FAVOR OF
        GRANTING RELIEF

        27.     As noted above, once the District Court has determined that the mandatory

requirements for relief under § 1782 are met, the Court is free to grant assistance, including leave

for discovery, in its discretion.


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        A. First Intel Factor: Whether Persons from whom Discovery ls Sought Are
           Participants in the Foreign Proceedings

                 1.      Lester Hyman

        28.      While Mr. Hyman is an intended participant of the contemplated proceedings,

which at first glance appears to be a factor that would ordinarily weigh against granting § 1782

relief, the rationale underlying the first Intel factor, in fact, weighs in favor of granting § 1782

relief. "[A] lthough ' the need for § l 782(a) aid generally is not as apparent as it ordinarily is when

evidence sought from a nonparticipant in the matter arising abroad,' Intel, 524 U.S. at 264,

participation in the fore ign proceedings does not automatically foreclose § 1782 aid." Gorsoan

Ltd. V. Bullock, 652 F. App' x 7, 9 (2d Cir. 2012).

        29.      The underlying rationale that "the need for § 1782 aid generally is not apparent,"

If!.:, because "(a] foreign tribunal has jurisdiction over those appearing before it, and can itself order
them to produce evidence," Intel, 524 U.S. at 264, is inapplicable in the circumstances of this

Application. The BVI High Court does not yet have jurisdiction to compel Mr. Hyman to a

deposition or to produce documentation located in the United States. The BVI High Court may

exercise jurisdiction over an out-of-jurisdiction party for claims in tort where "the damage was

committed within the jurisdiction or the damage was sustained within the jurisdiction," Civ. P. R.

7.3(4), Virgin Is., and it is expected that Mr. Hyman w ill be subject to the BV1 High Court's

jurisdiction after the claim is filed. However, as of now, Mr. Hyman is not yet a participant in a

proceeding before the BVl High Court and hence is currently a nonparticipant. The heightened

pleading standards required under BVl law for claims of fraud or dishonesty, though, necessitate

further discovery at this stage s imply to get to the point whereby the BV!G can file its claim against

Mr. Hyman, thereby becoming a participant in the BVJ High Court proceeding.




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        30.      The Court should, therefore, respectfully consider Mr. Hyman as akin to a

nonparticipant because the rationale for the first Intel factor as applied to nonpartic ipants is present:

the BVI High Court cannot yet compel Mr. Hyman to engage in the BVIG ' s requested discovery.

Furthermore, a nonparticipant's "evidence, available in the United States, may be unobtainable

absent § l 782(a) aid," Intel, 524 U.S. at 264, factors in favor of granting§ 1782 assistance. Here,

absent§ 1782 assistance, the BVIG faces a circular problem in pursuing its intention to file a claim

in the dispute's natural forum, the BVI High Court, because the BVIG cannot properly sue

Mr. Hyman absent the required cogent evidence, which in this case is located in the

District of Columbia, outside the j urisdiction of the BVI High Court. Absent § 1782 re lief, the

evidence may never become available to the BVJG because it might never meet its heightened

pleading requirement based on cogent objective evidence, thereby never instituting proceedings

against Mr. Hyman so that he may become a participant. When taking into consideration the

underlying rationale for distinguishing participants from nonparticipants, the analysis for the first

Intel factor, as it relates to Mr. Hyman, weighs in favor of granting § 1782 relief.

                 2.     IT             Professionals,             Banks,                             and
                        Income Tax Preparers/Advisors/Accountants

       31.       None         of        the        IT         Professionals,         Banks,          and

income Tax Preparers/Advisors/Accountants from whom discovery is sought are expected to be

participants in the contemplated foreign proceedings, and none of them are likely to be subject to

the jurisdiction of the BVI High Court, such that the BVJ High Court could compel these parties

for discovery.    In fact, not a s ing le bank that has operations in the BV1 could in any way be

considered to reside or be found in the District of Columbia, and therefore, no readily apparent

bank exists that cou ld both reside or be found in the District of Columbia and also be subject to

the BVJ High Court's jurisdiction.        It is also highly unlikely that any 1T Professional or


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Income Tax Preparer/Advisor/Accountant residing or found in the District of Columbia is also

subject to the BVl High Court's jurisdiction. Therefore, the first Intel factor weighs in favor of

granting discovery from the Banks and Income Tax Preparers/Advisors/Accountants.

        B. Second Intel Factor: The Nature of the Foreign Tribunal and whether the Foreign
           Court Is Receptive to U.S. Federal Court Assistance

        32.      As noted in ,i 24, supra, the BVl High Court is the first instance court of unlimited

jurisdiction in the BVI, and other U.S. district courts have implicitly recognized the

BVJ High Court as a foreign tribunal for § 1782 purposes by having granted relief for use in

proceedings before the BVI High Court.

        33.      The BVI is receptive to U.S. federal court assistance. Where a lacuna in BVI

common law exists, the common law of England is extended to the BVl.                  Common Law

(Declaration of Application) Act, 1705, 3 & 4 Ann., c. 13, § 72, Rev. L. Virgin Is. (1991). The

leading authority in English        law regarding the admissibility of foreign evidence is

South Carolina Insurance Co. v. Assurantie Maatschappij "de Zeven Provincien" N.V., [1987]

A.C. 24 (H.L.) (appeal taken from Eng.).        In South Carolina Insurance, the House of Lords

addressed a case where a party had sought and obtained pre-trial § 1782 assistance and found that

such assistance does not interfere with the English court's control of proceedings, and evidence

procured through § 1782 assistance is admissible. "Under the civil procedure of the High Court

the court does not, in general, exercise any control over the manner in which a party obtains the

evidence which he needs to support his case." S.C. ins., [1987] A.C. at 41. "[T]he basic principle

underlying the preparation and presentation of a party's case in the High Court in England is that

it is for that party to obtain and present the evidence which he needs by his own means, provided

always that such means are lawful in the country in which they are used." Id., at 42.




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        34.      The BVJ High Court has implicitly recognized the admissibility of evidence

procured with the assistance of§ 1782. In a BVJ High Court (Commercial Division) judgment

criticizing, inter alia, "the defendants' disclosure," Comodo Holdings Ltd. v. Renaissance

Ventures Ltd., [2013] BVIHC (Com) 0045/2013 ~ 271, " [t]he defendants also seem to have

opposed, for no very good reason, an application made in the United States by [plaintiff] under 23

[sic] USC § 1782 for the production of documents," Id.

        35.      Additionally, accomplishing the second of the twin Congressional aims "of

encouraging foreign countrises by example to provide similar assistance to our courts," Intel, 542

U.S. at 251 (internal citation omitted), the BVI has legislation like§ 1782 in the form of the

Evidence (Proceedings in Foreign Jurisdictions) Ordinance. Features of this legislation authorize

the BVJ High Court, upon application, to compel "(a) the examination of witness, either orally or

in writing; (b) the production of documents; (c) the inspection, photographing, preservation,

custody or detention of any property; or (d) the medical examination of any person," Evidence

(Proceedings in Foreign Jurisdictions) Ordinance, 1988, c. 24, § 4(2), Rev. L. Virgin ls. (1991), in

relation to foreign civi l proceedings "that have been instituted," _kl § 3(1 )(b)(i), or "the institution

of which before that court is contemplated," Id.§ 3(1)(b)(ii). In short, the BVl High Court is well-

versed in and amenable to foreign evidence gathering of the kind sought in this Application for a

contemplated proceeding.

        36.     Furthermore, Martin Kenney in his Declaration states, "To the extent that this

App lication is successful, I confirm that any responsive documents disclosed pursuant to this

Application will be admissible in the BVJ High Court as evidence of Mr. Hyman' s wrongs, of

which the BVIG now complain." Ex. MSK ~ 73.




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        C. Third Intel Factor: Whether this Application Conceals an Attempt to Circumvent
           Foreign Proof-gathering Restrictions or Other Policies of the Foreign Country or
           the United States

        37.      This Application does not conceal an attempt to circumvent foreign proof-gathering

restrictions or other policies of the foreign country or the United States. On the contrary, as noted

in ,i,i 33-34, supra, and incorporated into the argument in consideration of the third Intel factor, the

BVI High Court, in fact, welcomes parties to engage in § 1782 discovery and adopts the English

view that litigants control how they gather evidence and may use any lawful means to do so.

Additionally, the BVI, with legislation akin to § 1782, has no policy objections to admitting

evidence procured through similar legislation elsewhere. However, at this stage prior to the fil ing

of a claim, the BVI High Court does not exercise jurisdiction over any of the U.S. documents and

parties, from whom discovery is sought, and defers to U.S. courts to exercise jurisdiction over

documents and parties within their territory.
                                                                                                       ,
        38.      With respect to U.S. policy considerations, the two Congressional aims of assisting

foreign litigants and encouraging foreign courts to provide similar assistance to U.S. litigants are

met. The App licant is a fore ign litigant of the type that§ 1782 is intended to benefit, and the BV I

is a j urisdiction that has promulgated similar legislation to assist a s imilarly placed U.S. litigant.

Furthermore, the documentation and testimony sought do not violate U.S. law, practice, or policy

concerns; they would be discoverable if the litigation was before U.S. courts. In short, the third

Intel factor weighs in favor of granting this § 1782 request.

       D. Fourth Intel Factor: Whether this Application is Overly Burdensome or Intrusive

                 J.     Lester Hyman

       39.      The testimony and documentation requested of Mr. Hyman is in direct relation to

his engagement as attorney to the BYIG for a period of thirty years, with a focus on the period



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from 2014 when he introduced Mr. Bradley and others to the BVJG with a proposal to launch

direct air service between Miami and the BVI, financed in part by the BVIG. As a member of the

District of Columbia Bar, Mr. Hyman is expected to maintain client files for a presumptive period

of five years after a matter is closed unless those files are given to the client or his or her successor

attorney.      D.C. Bar Legal Ethics Comm., Formal Op. 283 (1998).                   Furthermore, the

District of Columbia Court of Appeals with regards to attorney disciplinary action has said, "We

have previously said that ' a client should not have to ask twice' for his file. We have also said the

client is owed an 'immediate return' of his fil e 'no matter how meager. "' In re Toan 0. Thai, 987

A.2d 428, 430 (D.C. 2009).

        40.      The B VJG is undoubtedly entitled to its client file, and in a June 20, 2019, letter to

Mr. Hyman, the BVIG' s current attorneys requested Mr. Hyman's "file (both paper and electronic

file including all emai ls) regarding the above matter [BY Airways Inc. and Associated

Companies]." Ex. MSK-1 at 151. Jn response, on June 23, 2019, Mr. Hyman wrote, "there were

no written communications between me and the BVI Government or BVI Air regarding the airport

extension matter," Id. at 153, despite the BVIG being in possession of many emails between

Mr. Hyman and its officials precisely on this matter.

        41.      Furthermore, Mr. Hyman has already stated in an email to the then-Premier, " Some

day l'd like to sit down with you and explain my true role in the airport situation," Ex. MSK ii 47,

thereby not only acknowledging that he has neither fully nor truthfully explained his role in the

fai led airline venture but also offering to explain it "some day." Id. As Mr. Hyman seems

apparently challenged to provide complete and truthful answers and explanations, in the spirit of

judicial economy, the Applicant requests to obtain his testimony under oath by way of a deposition

instead of continuing to request unswom and conflicting answers and explanations and is willing



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to conduct the deposition in Washington, D.C., for the convenience of the deponent. lnsofar the

discovery sought relates to the client file and evidence related to his representation, all of which a

former client is in any event entitled to receive, it cannot be that such a request is considered

burdensome or intrusive.

        42.      As to the request for discovery of Mr. Hyman's computer/electronic, bank, and

income tax records, while recognizing that such records should not ordinarily need to be requested

of a member of the District of Columbia Bar, in this instance, Mr. Hyman' s own actions while

representing his client and his responses to his former client's current attorneys are the causes for

the need of this additional evidence. This Court need not evaluate whether Mr. Hyman's history

of misstatements to his client and its current attorneys are the result of intentional deceit or innocent

forgetfu lness. Regardless of the cause, the veracity of Mr. Hyman' s statements, even under oath,

will, disappointingly for a member of the District of Columbia bar, be under a shadow of doubt.

Therefore, because of Mr. Hyman's actions and responses to date, the Applicant is taking the

additional step of requesting the discovery of Mr. Hyman' s computer/electronic, bank, and tax

records from both Mr. Hyman and relevant disinterested third parties to test independently through

objective evidence any testimony provided by Mr. Hyman with regards to the BVIG' s client file,

correspondence from and to him, and payments received by him in connection with his

representation of the BYlG, particularly the fai led airline venture.

                2.      IT             Professionals,             Banks,                            and
                        Income Tax Preparers/Advisors/Accountants

        43.      As to any IT Professional, Bank, or Income Tax Preparer/Advisor/Accountant, the

requested discovery should not prove to be overly burdensome or intrusive to the IT Professional,

Bank, and/or Income Tax Preparer/Advisor/Accountant because any of the documentation or files

requested of any of them will be documentation or files that Mr. Hyman could request and obtain


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from his JT Professional, Bank, and/or Income Tax Preparer/Advisor/Accountant. It is simply the

identity of the party making the request that is changed from Mr. Hyman to the Applicant, who

does    not     expect     that   any    request    of    an     JT   Professional,     Bank,    and/or

Income Tax Preparer/Advisor/Accountant would require the creation of new documents (with the

exception of perhaps a cover letter) to comply with the request for discovery. As to these parties,

the fourth Jntel Factor weighs in favor of granting § 1782 assistance.

                                           CONCLUSION

        44.      The Applicant respectfully submits to the Court that the § 1782 statutory threshold

authorizing this Court to grant § 1782 assistance has been met and that the discretionary factors

weigh in favor of, in fact, granting an order for discovery as set forth in ,i,i 45-46, infra.

                                         RELIEF SOUGHT

        45.      The Applicant seeks an order from the Court to grant leave to the Applicant to serve

subpoenas duces tecum, compelling the production of:

              a. from Mr. Hyman:

                     i. His entire client file for the BVlG, which shall also include any documents,

                         correspondence, or any other material that should be in the client file but

                         that Mr. Hyman may not as of yet have included in the client file;

                    ii. For the period from January 1, 1987, to the present, copies of all documents

                         (whether in electronic or hard copy form) evidencing, describing, or

                         otherwise mentioning any retainers, letters of engagement, letters of

                         instructions, or any other document setting out the nature of the

                         agreement(s) between Mr. Hyman and the BVIG for the provision of legal

                         advice or other services to the BVJG;



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     iii. For the period from September I, 2013, to the present, copies of all account

         statements, payment advice slips, checks, wire transfer confirmations, cash

         receipt slips, or any other financial or other document (whether in electronic

         or hard copy form) in respect of any Bank Account of Mr. Hyman, infra,

         including documents or communications of any kind showing information

         regarding any and all payments or deposits made by electronic funds

         transfer,   banker' s draft, check, or cash for the credit of any

         Bank Account of Mr. Hyman (a "Bank Account of Mr. Hyman" is any

         account held at any bank, savings and loan association, credit union,

         securities broker-dealer, or other financial institution that is held in the name

         or benefit of Mr. Hyman or any legal entity, in which Mr. Hyman holds or

         has held, directly or indirectly, legally or beneficially, a fifty percent or

         greater interest);

     1v. for the period from August 1, 2013 , to the present, copies of all documents

         and information (whether in electronic or hard copy form) in Mr. Hyman' s

         possession, custody, or control arising from or in connection with

         Mr. Hyman's provision of legal or other services to the BVIG including,

         but not limited to, documents and information relating to the failed airline

         venture;

     v. For the period from January 1, 1987, to December 31, 2017, copies of all

         annual reports (or s imilar) issued by Mr. Hyman to the BVlG that set out a

         summary of the services rendered by Mr. Hyman in exchange for his

         $100,000 annual retainer;



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      vi. For the period from August 1, 2013, to the present, copies of all

          communications (whether in electronic form or hard copy) in Mr. Hyman ' s

          possession, custody, or control between Mr. Hyman and any of the

          enumerated parties in ,i 46, infra; and

     v11. For the years 2014, 2015, 2016, 2017, and 2018, copies of all U.S. federal

          income tax returns (including all schedules to such tax returns) filed by

          Mr. Hyman as well as a statement setting out a detailed breakdown of the

          sources, nature, and amounts of income realized by Mr. Hyman in those

          years;

b. From any IT Professional:

       1. Any document, spreadsheet, presentation, email correspondence (whether

          draft or actually sent or received), or any other electronic fi le that is part of,

          or should be part of, Mr. Hyman ' s client file for the BVIG; and

      11. For the period from January I, 2014, to the present, copies of all documents,

          spreadsheets, presentations, and other electronic files that were saved at any

          time during the period and that relate in any way to the BVIG, Mr. Hyman' s

          representation thereof, and/or any of the enumerated parties in ,i 46, infra,

          and al l emai l correspondence during the period to or from , or saved as a

          draft by, Mr. Hyman and/or any person affiliated in any way with any legal

          entity, in which Mr. Hyman holds or has held directly or indirectly, legally

          or beneficially, a fifty percent or greater interest, and that relate in any way

          to the BVIG, Mr. Hyman' s representation thereof, and/or any of the

          enumerated parties in ,i 46, infra;



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             c. From the Banks:

                     1.   For the period from September 1, 2013, to the present, copies of all wire

                          transfer records, debit advices, credit advices, remittance advices,

                          statements of account, correspondence, emails, checks, demand drafts, or

                          any   other documents      processed   or   held   with   respect   to   any

                          Bank Account of Mr. Hyman;

             d. From any Income Tax Preparer/Advisor/Accountant who prepared, advised, or

                assisted w ith Mr. Hyman' s U.S. federal income tax returns and/or related materials

                for the years 2014, 2015, 2016, 2017, and/or 20 18:

                    1.    Copies of all correspondence, emails, documents, tax returns, schedules to

                          the same, and any other records in electronic or hard copy form that show

                          the quantum, sources, and nature of Mr. Hyman's income from

                          January I, 20 14, to December 31 , 2018.

       46.      The Applicant also seeks an order from the Court granting the Applicant leave to

serve Mr. Hyman with a subpoena ad testificandum, compelling Mr. Hyman to testify by way of

a sworn deposition regarding all matters relating to:

             a. Any aspect, fact, or other thing arising out of or in any way connected with his

                representation of the BYIG as its attorney and

             b. Any aspect, fact, or other thing connected in any way, also including any aspect,

                fact, or other thing regarding the BVI's and/or Mr. Hyman' s communications and

                relationships, with (i) BY Airways Inc. (the failed airline venture that he proposed

                to the BVI); {ii) Castleton Holdings LLC; (iii) Colchester Aviation LLC; (iv)

                Colchester Aviation Ltd.; (v) Raptor Aviation Ltd.; (vi) any of their shareholders



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             (whether corporate or individual, legal or beneficial), directors, officers, or any

             other related party or affiliate of them; (vii) Mr. Bradley; (viii) Jamaal Brown; (ix)

             Adam Frieman; (x) Scott Weisman; (xi) Jerry Willoughby; and/or (xii) any party

             acting on behalf of, or in conjunction with, any of Messrs. Bradley, Brown,

             Frieman, We isman, or Willoughby.



September 19, 2019                          Respectfully subm itted,




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